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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA


                                                                    CASF. NO.

  TWEEDSMUIR ATKINSON, as Personal
            of the Estate of Adi Atkinson,
  Representative
  Deceased,

                      Plaintiff,




  MICHAEL P. HUERTA, as Acting Administrator
  of the Federal Aviation Administration, and the
  FEDERAL AVIATION ADMINISTRATION, a
  Federal Agency within the United States Department
  of Transportation.


                                   COMPLAINT FOR VIOLATION OF THE
                                    ADMINISTRATIVE PROCEDURE ACT

             This action is brought under the Administrative               Procedure Act ("APA") 5 U. S.C. $701

  through 706, based on the denial         of the Plaintiff's    request, pursuant to 49 C.F.R.        9. 15, to conduct

  the deposition         of FAA employees Lowell Foster             and Joe Miess         ("Foster"   and "Miess") for

  testimony       relating   to the certification   of the Cirrus Design Co. ("Cirrus" ) SR/20 Aircraft,

  pursuant    to FAR Part 23, the stall/spin        certification of that aircraft, and the equivalent          level   of

  safety analysis        for that aircraft. Defendants'         denial    of the deposition request is         arbitrary,

  capricious, and an abuse of discretion and constitutes "an agency action unlawfully                       withheld    or

  unreasonably       delayed" within the meaning of the APA.

                                                      PARTIES

             1.       Plaintiff TWEEDSMUIR ATKINSON,                     ("Plaintiff')   is the personal representative

  of the Estate of Adi Atkinson. Plaintiff resides              in Broward County Florida, and the Estate is




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  the wrongful death        of Adi   Atkinson in Florida Circuit Court for the Seventeenth                  Judicial Circuit

  of Florida,    Atkinson v. Cirrus Design Co. , Docket No. CACE 10-30850 (02) (Fla. Cir. Ct. , 17"'

  Jud. Cir. ) (the "underlying       case").

           9.        The underlying        case concerns the negligence of Cirrus Design Co. in its failure to

  design an aircraft with reasonable             stall/spin   characteristics,    reasonable   stall/spin    warnings        and

  reasonable stall/spin      recovery, which were the legal and proximate cause of the crash of a Cirrus

  SR/20 Aircraft and the death            of Adi Atkinson.

           10.       On December 22,           2011, Plaintiff, by and through his attorney, Edward Curtis,

  sent the Defendants        a request pursuant to 49 C.F.R. 9. 15 to take the deposition of Joe Miess,

  Flight Test Pilot at the Chicago Aircraft Certification Office and Lowell Foster, Aviation Safety

  Engineer, at the Small Airplane Directorate in Kansas City. A true copy                         of these     requests are

  attached hereto as Composite Exhibit             "A".

           11.       The request submitted          by Plaintiff clearly identified        the underlying      case; stated

  the basic facts        of the proceeding; summarized              unresolved   issues applicable     to the testimony

  sought; summarized         the testimony      sought and its relevance to the proceeding;            certified that the

  information     was not reasonably         available from other sources; described the extent              of a   search    of

 parties    and potential      parties;     and declared      that Plaintiff would        not seek expert or opinion

 testimony from the witnesses.

           12.       On January       12, 2012, Mr. Curtis received a response from the FAA, which

 ambiguously       requested    Plaintiff to provide          "a   Part 9 Declaration",     an explanation      as to why

 deposition testimony was necessary, and "specific written questions" for Mr. Foster to answer. A

 true copy    of this response is attached hereto as Exhibit "B".

           13.       Mr. Curtis responded to this Correspondence                 on February 15, 2012, by providing




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  further details regarding        the deposition testimony    sought and explaining     that "specific written

  questions" would be an inadequate          and cumbersome      means   of obtaining responses to Plaintift         s


  inquiries.

            14.       Nevertheless,    on May 23, 2012, the FAA responded            by denying      the requests,

  stating that they were denied because they did not satisfy the "purposes and requirements                  of 49

  C.F.R. Part 9, including            49 C.F.R. $$ 9.1(b)(4), 9.15(a)(5) and 9.15(a)(7)." The FAA's

  correspondence         denying the deposition requests is attached hereto as Exhibit    "C".

            15.       49 C.F.R. $9. 1(b)(4) does not contain a requirement       for requesting the deposition

  testimony       of an agency employee,    but rather states that the purpose   of part 9 includes, inter alia,

  to "Avoid spending time and money of the United States for private purposes.
                                                                                           "
            16.       49 C.F.R. $9. 15(a)(5) requires a request for deposition testimony to include "a

  certification with support, that the information          desired is not reasonably    available     from other

  sources, including Departmental         documents.   "
            17.       Such a certification is contained in both Plaintiff's      December 22, 2011 request,

  and Plaintiff's February 15, 2012 Supplemental           Request.

            18.       49 C.F.R. 9. 15(a)(7) simply requires "a declaration that the party will not seek

  expert or opinion testimony from the witness or seek the testimony of the witness at a hearing or

  trial in the proceeding.
                               "
            19.       Such a certification is made in Plaintiff s December 22, 2011 request.

            COUNT        I —VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
            20.       Plaintiff repeats and restates the allegations of paragraphs    1-19 as if fully set forth

  herein.

            21.       Plaintiff has been adversely affected and aggrieved by the Defendants'




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  unreasonable     delay and unlawful withholding     of the testimony of Foster     and Weiss.

            22.     Plaintiff fully complied with all procedural requirements       of 49 C.F.R. 9.15 to

  request the deposition testimony     of Foster   and Weiss.

            23.     Defendants denied this request based on the erroneous assertion that Plaintiff

  failed to comply with 49 C.F.R. 9.15(a)(5) and 49 C.F.R.         9.15(a)(7).

            24.     Defendants'   denial was arbitrary, capricious, and an abuse      of discretion   within the

  meaning    of the APA,   5 U. S.C. $706(2)(A).

            25.     Plaintiff has no other adequate remedy at law.

            WHEREFORE, Plaintiff respectfully requests that this court:

            1.      Declare that the denial of deposition testimony by the Defendants is unlawful.

            2.      Order Defendants     FAA and MICHAEL P. HUERTA to grant Plaintiff's request

  for deposition testimony and order that the deposition testimony be conducted consistent with the

 procedures set forth in 49 C.F.R. Part     9.

            3. Enjoin   the Defendants    from withholding       the deposition     testimony   of Foster   and

  Weiss.

            4. Grant such further relief as the Court deems just and reasonable.

            Dated: July 23, 2012.

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                                                            By       /s/ Jonathan   B. Lewis
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